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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
THOMAS LENAHAN,                                                       :
                                                                      :
                              Plaintiff,                              :
                                                                      :
          -against-                                                   :            ORDER
                                                                      :     17 CV 6734 (AJN) (KNF)
NEW YORK CITY, et al.,                                                :
                                                                      :
                              Defendants.                             :
------------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         Through a letter dated October 5, 2020, Docket Entry No. 96, the plaintiff has informed the

Court that he “wish[es] to renew [his] application for assignment of counsel.” The plaintiff requested

previously that the Court seek pro bono counsel to assist him in prosecuting this action. The request

was granted in July 2019, see Docket Entry No. 49. Therefore, no need exists to renew the request,

as the plaintiff has done. No attorney has agreed to represent the plaintiff, on a pro bono basis, as of

the date of this order. It is not guarantied that an attorney will agree to represent the plaintiff, on a

pro bono basis. Therefore, the plaintiff was advised by the Court, in July 2019, that he must continue

to represent himself, until such time as an attorney agrees to represent him. The plaintiff’s request to

renew his application for the Court to seek pro bono counsel to assist him is denied, as unnecessary.

The Clerk of Court is directed to mail a copy of this order to the plaintiff.

Dated: New York, New York                                  SO ORDERED:
       October 19, 2020
